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    BRUCE A. BLAKEMAN                                                    THOMAS A. ADAMS
      County Executive                                                     County Attorney




                                     COUNTY OF NASSAU
                             OFFICE OF THE COUNTY ATTORNEY

                                               December 16, 2024

 Via ECF
 Honorable Brian M. Cogan
 Eastern District of New York
 United States District Court
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re:     Kahlon v. County of Nassau, et al. / Docket No. 24-CV-02439 (BMC)

 Your Honor:

        This office represents defendant County of Nassau (the “County”) in the above-
 referenced action. Pursuant to Rule III(B)(2) of the Court’s rules, the County respectfully
 requests a pre-motion conference for the purpose of filing a motion for summary judgment
 under Fed. R. Civ. P. 56.

         Facts of the Case. Yoseff Khalon (“Plaintiff”) was arrested on August 19, 2021,
 following his indictment on various sex offenses arising from an encounter with
 defendant/third-party plaintiff Celine Boulben (“Boulben”) on January 25, 2021, in his Kings
 Point, New York, home. Plaintiff was acquitted on October 10, 2023, following a jury trial.
 On February 28, 2024, Plaintiff commenced this action in Nassau County Supreme Court
 alleging deprivation of his civil liberties under federal and state law. On April 1, 2024,
 Boulben removed this matter to this Court [DE 1].

         The County contends that it is entitled to summary judgment pursuant to Rule 56 upon
 the following grounds.

         1. Failure to Name an Individual Defendant. Actions under 42 U.S.C. § 1983 are
 required to allege that “‘the conduct complained of [was] committed by a person acting under
 color of state law.’” Mosquera v. Nassau Health Care Corp., 2019 WL 6525653, at *2
 (E.D.N.Y. Dec. 4, 2019) (internal citations omitted). Here, Plaintiff has failed to name an
 individual who allegedly violated his rights and, because the deadline for amendments to the
 pleading has expired, he is barred from adding another party. Moreover, Plaintiff has not
 substituted the “John/Jane Doe” defendants within the statutorily allotted time. Consequently,
 because there are no individual state actors as defendants, all of the claims sounding in federal
 law should be dismissed.

         2. Immunity. Plaintiff’s theory of liability against the municipal defendant County
 relates to alleged misdeeds by unnamed Assistant District Attorneys in the presentation of
 evidence to a Grand Jury and the criminal prosecution. Even if those persons had been named
 as defendants, they would be entitled to summary judgment because the conduct alleged
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 against them is directly related to their prosecutorial functions as advocates. Imbler v.
 Pachtman, 424 U.S. 409 (1976); see also Mitchell v. Forsyth, 472 U.S. 571 (1985)

         3. Plaintiff’s State and Federal False Arrest Claims Are Subject to Dismissal.
 Pursuant to New York General Municipal Law § 50-i(1)(a), a notice of claim must be served
 within ninety (90) days after the subject claim arose and, under New York law, causes of
 action based on false arrest accrue upon the subject’s release from confinement and are
 governed by a one-year statute of limitations.(see CPLR 215 [3]). Plaintiff was arrested on
 August 19, 2021, and was released from confinement that same day after posting bail at his
 arraignment. Thus, Plaintiff’s notice of claim would have had to be served by November 19,
 2021, and his lawsuit commenced by November 19, 2022. Here, Plaintiff first served a notice
 of claim on December 11, 2023, making it jurisdictionally defective, and this action was filed
 in February 2024, long after expiration of the statute of limitations for false arrest claims.

         Another ground for summary judgment is the existence of probable cause which is a
 complete defense to a false arrest claim. See Savino v. City of New York, 331 F. 3d at 63, 72
 (2d Cir. 2003); D'Angelo v. Kirschner, 288 Fed. Appx. 724, 726 (2d Cir. 2008); Mitchell v.
 Cty. of Nassau, 786 F. Supp. 2d 545, 562 (E.D.N.Y. 2011). The evidence adduced through
 discovery revealed that investigating detective, Aileen Newbold, had determined that
 probable cause existed to arrest the Plaintiff even if the District Attorney’s Office had not
 chosen to seek a direct presentment to a grand jury—which was within its statutory authority
 to do.

         3. Plaintiff’s State and Federal Claims for Malicious Prosecution Should Be
 Dismissed. To prevail on a malicious prosecution claim under New York and federal law, a
 plaintiff must show: “(1) the commencement or continuation of a criminal proceeding by the
 defendant against the plaintiff, (2) the termination of the proceeding in favor of the accused,
 (3) the absence of probable cause for the criminal proceeding and (4) actual malice.” Smith-
 Hunter v. Harvey, 95 N.Y. 2d 191 (2000) (internal quotation marks omitted); see also Kee v.
 City of New York, 12 F. 4th 150, 161 (2d Cir. 2021). Plaintiff cannot meet the third and fourth
 requirements, since probable cause existed for his prosecution, and he has failed to adduce
 evidence that any County employee (again, the complaint fails to name any individual County
 defendant) acted with malice when the criminal charges were filed against him. Under New
 York law, malice does not have to be actual spite or hatred but means only “that the defendant
 must have commenced the criminal proceeding due to a wrong or improper motive,
 something other than a desire to see the ends of justice served.” Lowth v. Town of
 Cheektowaga, 82 F. 3d 563, 573 (2d Cir. 1996), as amended (May 21, 1996) (citing Nardelli
 v. Stamberg, 44 N.Y. 2d 500, 502–03 [1978]). Here, there is no evidence that any County
 employee acted for any motive other than seeking justice. Thus, summary judgment is proper
 on these claims.

         Moreover, a presumption of probable cause exists where there is a grand jury
 indictment. Colon v. City of New York, 60 N.Y. 2d 78, 82 (1983). To the extent that Plaintiff
 contends that the grand jury proceedings were tainted, he is unable to prove those allegations
 because the minutes of the grand jury proceedings have not been unsealed for use in this case.
 Grand jury proceedings are secret and, with few exceptions, may not be disclosed unless as
 part of one’s lawful duties, or upon written order of the court. New York Criminal Procedure

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 Law (“C.P.L.”) § 190.25(4)(a); see also Baynes v. Ruderfer, 234 F. Supp. 3d 574, 577
 (S.D.N.Y. 2017). Thus, to prove his case, Plaintiff must rely upon a document that is
 statutorily protected against disclosure, and which has not been unsealed through a court
 order.

         Pursuant to C.P.L. § 245 discovery, Plaintiff was entitled to—and did receive—
 testimony of a witness called during Plaintiff’s criminal trial. That possession, however, did
 not extend the use of the transcript to this civil case arising from, or as a result of, criminal
 proceedings. See Matter of District Attorney of Suffolk County, 58 N.Y. 2d 436, 443 (1983)
 (court has authority to prevent further disclosure or dissemination of grand jury testimony).

         As the Court of Appeals noted, the secrecy of grand jury proceedings is so seriously
 regarded, that unauthorized disclosure is punishable as a felony. Id. at fn. 6. Consequently, at
 their recent depositions, neither of the assistant district attorney witnesses was able to discuss
 the grand jury proceedings and were, thus, statutorily prohibited from disproving Plaintiff’s
 unfounded claims.1 Until such time as Plaintiff obtains the release of the grand jury testimony,
 he will be unable to refer to same. In any event, the County is confident that Plaintiff is unable
 to meet his burden of proof.

         4. The Fabrication of Evidence Claim Should Be Dismissed.
 Fabrication of evidence claims relate to the right not to be deprived of liberty as a result of
 the fabrication of evidence by a government officer acting in an investigative capacity. The
 traditional elements for such a claim are: (1) an investigating official; (2) who
 fabricates evidence; (3) that is likely to influence a jury's decision; (4) forwards that
 information to prosecutors; and (5) the plaintiff suffers a deprivation of liberty as a result.
 Because no proof exists that any County employee knowingly fabricated any evidence,
 summary judgment is appropriate.

         5. The Conspiracy Claim Should Be Dismissed. To prevail on a § 1983 conspiracy
 claim, the plaintiff must establish: “(1) an agreement between two or more state actors or
 between a state actor and a private entity; (2) to act in concert to inflict an unconstitutional
 injury; and (3) an overt act done in furtherance of that goal causing damages.” Pangburn v.
 Culbertson, 200 F. 3d 65, 72 (2d Cir. 1999). In addition to the fact that the Complaint fails to
 name any County “state actor” as a defendant, Plaintiff has no evidence to support his claim
 that any County employee conspired with Boulben. Plaintiff has not adduced a shred of
 evidence of an “agreement,” let alone any sort of action “in concert” to support his conclusory
 claims. Additionally, Plaintiff has not adduced any evidence regarding a “constitutional
 violation,” which is a threshold issue required to succeed on a §1983 conspiracy claim. See
 Singer v. Fulton Cty. Sheriff, 63 F. 3d 110, 119 (2d Cir. 1995) (“[A] plaintiff alleging a §1983
 conspiracy claim must prove an actual violation of constitutional rights.”). Summary
 judgment is, thus, appropriate.


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           Although federal courts are not constrained by the dictates of C.P.L. § 190.25(a)(4), Plaintiff has not
 made application to the state court demonstrating “a particularized need” for release of the grand jury transcripts,
 nor has he sought an order from this Court. See, e.g., Domni v. County of Nassau, et al., 2020 WL 7625417, at
 *6 (2020). Furthermore, while a witness may authorize the release of their own grand jury testimony, upon
 information and belief, that has not been done in this case either.

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         6. Plaintiff’s Monell Claim, Although Severed, Is Ripe for Summary Judgment.
 In an order issued in May 2024, this Court severed Plaintiff’s Monell claim from the rest of
 this case. Nevertheless, summary judgment is appropriate at this juncture because federal
 municipal liability is predicated upon a determination that an individual acting “under color of
 state law” has violated the civil plaintiff’s constitutional or federal statutory rights. Because in
 this lawsuit there are no individually named County defendants, no individual § 1983 liability
 exists, and by extension, the municipal Defendant cannot be found liable. Moreover, there is
 no allegation of the existence of any improper County policy, practice or procedure, that
 caused the alleged violations.

         7. Plaintiff’s Claim of Negligent Hiring, Training, and Retention Must Be
 Dismissed. Plaintiff’s eighth cause of action is clearly and unequivocally refuted by the
 record.

       For the reasons set forth herein, the County Defendant respectfully requests leave to
 move for summary judgment.

        I thank Your Honor for your attention and consideration in this matter.

                                                                Respectfully submitted,

                                                                /s/ Ralph J. Reissman
                                                                RALPH J. REISSMAN
                                                                Deputy County Attorney
 cc: (via ECF)
 All counsel of record




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